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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO

    GERALD ROSS PIZZUTO, JR.,                   )   CASE NO. __________________
                                                )
                  Plaintiff,                    )
    v.                                          )   COMPLAINT FOR
                                                )   EQUITABLE, DECLARATORY,
    JOSH TEWALT, Director, Idaho                )   AND INJUNCTIVE RELIEF
    Department of Correction, in his official )
    capacity, TIMOTHY RICHARDSON,               )
    Warden, Idaho Maximum Security              )
    Institution, in his official capacity, RAUL )
    LABRADOR, Attorney General, Idaho           )
    Attorney General’s Office, in his official )
    capacity,                                   )
                                                )
                  Defendants.                   )
                                                )

    I.   Nature of the Action

         1.     Plaintiff Gerald Ross Pizzuto, Jr. is a death-row inmate in Idaho 1 who

brings this action pursuant to 42 U.S.C. § 1983 for violations and threatened


1 Mr. Pizzuto refers to Idaho as “Idaho,” “the State of Idaho,” and “the State.”
Likewise, throughout this complaint, Mr. Pizzuto refers to the Defendants, variously,
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violations of his constitutional rights in connection with the State’s effort to execute

him.

         2.    Mr. Pizzuto hereby seeks injunctive and declaratory relief prohibiting

Defendants from seeking or preparing to execute him until they have secured lethal

injection drugs which comport with constitutional demands.

 II.     Justiciable Case or Controversy

         3.    For the reasons set forth below, absent judicial intervention, Mr. Pizzuto

is and continues to be tortured by the State of Idaho and the Idaho Department of

Corrections.

         4.    There is a real and justiciable case or controversy between the parties.

III.     Jurisdiction and Venue

         5.    This action arises under 42 U.S.C. § 1983 for violations of the Eighth

and Fourteenth Amendments to the United States Constitution.

         6.    The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal

question), 1343 (civil rights violations), 2201(a) (declaratory relief), and 2202 (further

relief).

         7.    The Court has personal jurisdiction over the Defendants as they are

residents of the State of Idaho and are presently located in the State of Idaho, or are

appointed officials of the State of Idaho, or otherwise acting on behalf of the State of

Idaho.



as “the Defendants,” “the State,” “IDOC,” and other phrases, as appropriate. His use
of these expressions does not limit the scope of the claims, which are brought against
each and every named defendant.
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        8.    Venue in this Court is proper under 28 U.S.C. § 1391 because most of

the events giving rise to the claims—including Mr. Pizzuto’s potential execution and

the procurement and maintenance of drugs used in that execution—have occurred,

are occurring, or will occur in the District of Idaho.

        9.    Venue is further proper because, upon information and belief, the

Defendants all reside in the District of Idaho.

IV.     Parties

        10.   Mr. Pizzuto is a person within the jurisdiction of the State of Idaho.

        11.   Mr. Pizzuto is an inmate under the supervision of the Idaho Department

of Correction (“IDOC”).

        12.   Mr. Pizzuto is confined at the Idaho Maximum Security Institution

(“IMSI”).

        13.   Mr. Pizzuto is under sentence of death.

        14.   As set forth in greater detail below, the Defendants are state officials

responsible for developing, overseeing, and/or implementing death by lethal injection

in Idaho.

        15.   Defendant Josh Tewalt (“Director Tewalt” or “now-Director Tewalt”) is

the Director of IDOC.

        16.   Director Tewalt is responsible for approving the substances and

procedures to be used in any execution performed by IDOC.

        17.   Defendant Timothy Richardson (“Warden Richardson”) is Warden of

IMSI.

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      18.    Warden Richardson is the official executioner for inmates in Idaho state

custody.

      19.    Defendant Raúl Labrador is the Attorney General of the State of Idaho.

      20.    Upon information and belief, Mr. Pizzuto and the Defendants are all

United States citizens.

      21.    The Defendants are all officials of the State of Idaho.

      22.    All of the actions that have been and will be taken by the Defendants

towards executing Mr. Pizzuto and any other actions at issue in this Complaint were

or will be taken under color of state law.

      23.    The Defendants are all sued in their official capacities.

 V.   General Factual Allegations

      24.    Mr. Pizzuto incorporates each and every statement and allegation set

forth throughout this Complaint as if fully rewritten.

      25.    Mr. Pizzuto was convicted of first-degree murder for the killing of

Delbert and Berta Herndon and sentenced to death in Idaho County District Court.

      26.    Mr. Pizzuto’s murder convictions and sentence were upheld on direct

appeal in 1991.

      27.    On May 6, 2021, the Attorney General sought and obtained a death

warrant for Mr. Pizzuto. The warrant scheduled Mr. Pizzuto’s execution for June 2,

2021. When the warrant was issued, Mr. Pizzuto was taken from J-Block at the Idaho

Maximum Security Institution and moved to the Execution Unit in F-Block. The




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Execution Unit is a separate building that provides for complete isolation of the

condemned from other inmates.

      28.    Mr. Pizzuto was asked to select witnesses for his execution. Mr. Pizzuto

also was asked about the disposition of his property and his remains.

      29.    On May 18, 2021, fifteen days before his execution, the Commission of

Pardons and Parole notified the Federal Defender Services of Idaho and the Attorney

General of their intention to hold a commutation hearing for Mr. Pizzuto. The Second

Judicial District Court for the County of Idaho issued an order the same day staying

the execution until the conclusion of commutation proceedings.

      30.    A commutation hearing took place on November 30, 2021.

      31.    On December 30, 2022, the Commission of Pardons and Parole

recommended that commutation be granted and that Mr. Pizzuto’s two death

sentences be changed to sentences of life in prison without the possibility of parole.

      32.    Approximately     ten   minutes   after   the   Commission    issued   its

recommendation, Governor Brad Little rejected the Commission’s decision.

      33.    On November 16, 2022, the Attorney General sought and obtained

another death warrant for Mr. Pizzuto. The warrant scheduled Mr. Pizzuto’s

execution for December 15, 2022. When the warrant was issued, Mr. Pizzuto was

taken from J-Block at the Idaho Maximum Security Institution and moved to an

isolated cell in C-Block.

      34.    Also on November 16, 2022, Director Tewalt informed the Office of the

Attorney General that the Department of Corrections was “not in possession of the

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chemicals necessary to carry out an execution by lethal injection.” IDOC Serves Death

Warrant      to    Gerald      Pizzuto    (Nov.     16,    2022),     available    at

https://www.idoc.idaho.gov/content/news/idoc-serves-death-warrant-gerald-pizzuto.

      35.    Mr. Pizzuto was again asked to select witnesses for his execution. Mr.

Pizzuto also was once more asked about the disposition of his property and his

remains.

      36.    On November 30, 2022, fifteen days prior to Mr. Pizzuto’s execution,

Director Tewalt informed the Attorney General’s Office that the Department of

Corrections had been unable to obtain the necessary chemicals to carry out Mr.

Pizzuto’s execution. The Director stated that in his professional judgment it was “in

the best interest of justice to allow the death warrant to expire and stand down our

execution preparation.” Exhibit 1 (attached hereto).

      37.    The same day, the Attorney General filed a notice in the Federal District

Court of Idaho attaching the Director’s memo and stating “IDOC does not have the

necessary chemicals to carry out the execution on December 15, 2022. Execution

preparation by IDOC will cease and the death warrant will be allowed to expire.”

Exhibit 2 (attached hereto).

      38.    Mr. Pizzuto continued to be housed in an isolated cell in C-Block until

the evening of December 16, 2022.

      39.    In the aftermath of these two warrants, Mr. Pizzuto has had intense

psychological symptoms. He loses track of time and dissociates from reality. He




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experiences intrusive thoughts regarding his experiences, even when he is trying not

to think about a future execution.

         40.   Mr. Pizzuto’s sleep has been greatly disturbed. He often does not sleep

more than a few hours at night. He suffers from many intrusive thoughts of the

experiences at night.

         41.   By statute, lethal injection is the only authorized method of execution in

Idaho.

         42.   The same statute gives the IDOC Director the power and responsibility

to approve the lethal injection protocols and methods.

         43.   On February 24, 2023, the State sought another death warrant for Mr.

Pizzuto. The Attorney General has admitted publicly that as of the date of filing, the

State still does not possess the necessary chemicals to carry out an execution by lethal

injection. Exhibit 3 (attached hereto).

         44.   Upon information and belief, the Attorney General takes the position

that he is legally required to continue to seek and re-seek death warrants for Mr.

Pizzuto, whether at regular or irregular intervals and whether or not the State has

the necessary lethal injection chemicals, until Mr. Pizzuto dies of natural causes or

is executed.

         45. Also, upon information and belief, the Attorney General sought and

obtained the February 24th death warrant against Mr. Pizzuto with the expectation

that it, like the November 16th warrant, would once again not result in an execution.




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VI.    Violation of Mr. Pizzuto’s rights under the Eighth Amendment to be free from cruel
       and unusual punishment.

       46.    Mr. Pizzuto repeats and realleges paragraphs 1 through 45 as though

fully set forth herein.

       47.    The Eighth Amendment prohibits “cruel and unusual punishments.”

U.S. Const. Amend. VIII.

       48.    The U.S. Supreme Court has previously described punishments to be

unconstitutionally cruel “when they involve torture or a lingering death,” In re

Kemmler, 136 U.S. 436, 447 (1890), or when they “involve the unnecessary and

wanton infliction of pain,” Rhodes v. Chapman, 452 U.S. 337, 346 (1981). The

Eighth Amendment forbids “forms of punishment that intensified the sentence of

death with a (cruel) superadd[ition] of terror, pain, or disgrace.” Bucklew v.

Precythe, 139 S. Ct. 1112, 1124 (2019).

       49.    The U.S. Supreme Court has also stated that “a series of abortive

attempts” at execution raise an Eighth Amendment claim. Baze v. Rees, 553 U.S.

35, 50 (2008); see also Glass v. Louisiana, 471 U.S. 1080, 1085–86 (1985).

       50.    The setting of multiple execution dates, without the ability to actually

carry out the intended execution, constitutes cruel and unusual punishment under

the Eighth Amendment.

       51.    What Defendants did and are doing to Mr. Pizzuto does not fall within

this society’s standards for a constitutional execution. The setting of multiple

execution dates has been psychologically traumatizing to Mr. Pizzuto.



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       52.    While Bucklew is an opinion concerning the summary judgment

standard, it is instructive on the core pleading requirements on a cruel and unusual

execution claim: a plaintiff must allege (1) that a state’s chosen execution method

cruelly “superadds” pain to the death sentence; and (2) there exists a readily-available

alternative method of execution to the method the state is currently pursuing, which

alternative would “clear[ly] and considerabl[y]” reduce the risk of severe pain. See

Bucklew, 139 S. Ct. at 1125, 1130.

       53.    Mr. Pizzuto can establish both of these elements. First, it is clear that

the State has inflicted profound psychological trauma by bringing Mr. Pizzuto to the

precipice of an execution and propounded this trauma by not having the necessary

lethal chemicals to actually proceed. Second, as an alternative, the State merely

needs to refrain from seeking a new warrant until it can establish that it actually has

the means to carry out an execution.

VII.   Violation of Mr. Pizzuto’s rights under the Fourteenth Amendment to
       procedural due process.

       54.    Mr. Pizzuto repeats and realleges paragraphs 1 through 53 as though

fully set forth herein.

       55.    The Fourteenth Amendment prohibits the deprivation of life, liberty, or

property without due process of law.

       56.    What constitutes “due process” is a “flexible concept that varies with the

particular situation.” Zinermon v. Burch, 494 U.S. 113, 127 (1990). Several factors

are applicable: the private interest affected; the risk entailed by an illegal deprivation

of that interest and the probable value of any procedural safeguards that could be put
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 in place; and the State’s interest, including the economic or administrative burden of

 implementing those additional procedural safeguards. Id. (quoting Mathews v.

 Eldridge, 424 U.S. 319, 325 (1976)).

        57.   Mr. Pizzuto has a protected liberty interest in not being subjected to a

 cruel and unusual execution. Villegas Lopez v. Brewer, 680 F.3d 1068, 1083 (9th Cir.

 2012) (Berzon, J., concurring in part and dissenting in part).

        58.   Additionally, the risk of an illegal deprivation – the risk of State-

 inflicted psychological torture – is great. But the only procedural safeguard necessary

 to avoid that risk is to simply refrain from seeking a death warrant until the State is

 capable of carrying out the actual execution. The value of such a safeguard thus is

 commensurate with the severity of the deprivation of Mr. Pizzuto’s liberty interest.

        59.   Finally, the State’s own interest, which is to say the economic or

 administrative burden of implementing this safeguard, is minimal. Indeed, given the

 increased burden on IMSI and IDOC staff tasked with preparing for an illusory

 execution, it in fact benefits the State to provide this minimal additional amount of

 process.

        60.   All of the factors relevant to determining whether there has been an

 actionable due process violation thus weigh in Mr. Pizzuto’s favor.

VIII.   Prayer for Relief

        61.   In light of the above, Mr. Pizzuto respectfully requests that the Court:

              a) Stay the February 24, 2023 death warrant against Mr. Pizzuto.




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           b) Enjoin the Defendants from seeking any death warrants until they

              can establish to the Court that they have obtained the necessary

              lethal chemicals to carry out an execution.

           c) Enjoin the Defendants from undertaking any execution preparations

              until they can establish to the Court that they have obtained the

              necessary lethal chemicals to carry out an execution.

           d) Grant any such other relief that is just and proper.

     DATED this 24th day of February 2023.

                                            /s/ Mary E. Spears
                                            Mary E. Spears
                                            Deborah A. Czuba
                                            Federal Defender Services of Idaho




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